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                                                Tuesday, September 27, 2022 at 13:47:42 Central Daylight Time


Subject:      Re: Rosenfeld v. AC2T, Inc. - Correspondence re: Supplemental Produc=on
Date:         Wednesday, March 23, 2022 at 1:21:21 PM Central Daylight Time
From:         Cal Mayo
To:           Dimon, Anna G.
CC:           Boyle, Edward P.

AFachments: image001.png, image002.png

Anna,

In further response to your email of March 8, I oﬀer the following.

$100 is a fair rate for Dr. Yee’s Ame for the deposiAon and far less than either party would pay if Dr. Yee
was a designated expert. Please resolve the issue about payment for his Ame with PlainAﬀ, as Dr. Yee
will need a commitment for full payment of his Ame at the deposiAon in advance of his deposiAon. To
be clear, “his Ame” will include from the point the deposiAon begins unAl it ends. At most, we are
talking about a few hundred dollars, so we will not use a stopwatch for breaks.

Dr. Yee will not produce documents related to his work or travels to Puerto Rico. Those trips have no
connecAon to the issues in the pending liAgaAon.

Cal Mayo


                            J. Cal Mayo, Jr.
                            Mayo Mallette
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From: Cal Mayo <cmayo@mayomalleOe.com>
Date: Wednesday, March 23, 2022 at 12:34 PM
To: "Dimon, Anna G." <AGDimon@Venable.com>
Cc: "Boyle, Edward P." <EPBoyle@Venable.com>
Subject: Re: Rosenfeld v. AC2T, Inc. - Correspondence re: Supplemental ProducAon

As indicated in my email of Feb. 17, I need a conﬁdenAality agreement. Dr. Yee will not consent to the
NY protecAve order.

Once we come to terms on the agreement, I will produce the responsive documents.



                                                       "K"                                             Page 1 of 3
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                             J. Cal Mayo, Jr.
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From: "Dimon, Anna G." <AGDimon@Venable.com>
Date: Wednesday, March 23, 2022 at 10:22 AM
To: Cal Mayo <cmayo@mayomalleOe.com>
Cc: "Boyle, Edward P." <EPBoyle@Venable.com>
Subject: RE: Rosenfeld v. AC2T, Inc. - Correspondence re: Supplemental ProducAon

Hi Cal,

Please let us know when we can expect a response to the below.

Best,
Anna

From: Dimon, Anna G.
Sent: Tuesday, March 8, 2022 12:57 PM
To: 'Cal Mayo' <cmayo@mayomalleOe.com>
Cc: Boyle, Edward P. <EPBoyle@Venable.com>
Subject: Rosenfeld v. AC2T, Inc. - Correspondence re: Supplemental ProducAon

Hi Cal,

I am responding to your February 17 email. You wrote that Dr. Yee will “make an addiAonal producAon of
certain responsive documents” provided that (1) AC2T agrees to compensate Yee at a rate of $100/hour for
Ame spent in his deposiAon in this case, and (2) AC2T and Yee execute a supplementary conﬁdenAality order
covering Yee’s documents and tesAmony. Speciﬁcally, if agreement is reached on these points, you wrote
that Yee will produce “to the extent they exist, documents responsive to 1-6, 9-10, and 17-18,” and that you
would check with Yee regarding documents responsive to Requests No. 13 and 16. You also stated that Yee
would not respond to Request No. 19 because it is too broad. And, you noted that Yee has documents
responsive to Requests No. 14 and 15, which are being withheld based on aOorney work product asserAons
by counsel for PlainAﬀ in this acAon. As you know, my ﬁrm has wriOen to PlainAﬀ’s counsel separately on this
subject, and we hope to have this issue resolved soon.

In response to the ﬁrst point above, AC2T agrees to pay Yee $100/hour for his Ame in the deposiAon that he
is quesAoned by AC2T’s counsel, provided you conﬁrm that this is Yee’s reasonable and customary rate for
Ame spent away from work. We also take as true your representaAon in our February 14 call that Yee is an
independent witness and is not retained by any party in this acAon. For the avoidance of doubt, this is not a
payment for Yee’s services nor for his tesAmony. AC2T will not compensate Yee for other Ame relaAng to the
subpoena, including Ame spent quesAoned by PlainAﬀ’s counsel, or Ame that we are not on the deposiAon
record.

                                                                                                         Page 2 of 3
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Regarding conﬁdenAality, AC2T will agree that Yee may designate his documents and tesAmony as
“conﬁdenAal” under the terms of the discovery conﬁdenAality order issued in the acAon. I have aOached a
copy for your convenience. Please conﬁrm Yee agrees to these terms.

Regarding Request No. 19, AC2T agrees to address your concerns about breadth by limiAng the request to
communicaAons concerning the Paper, the Product, AC2T, Hirsch, Bonner, this AcAon, any other acAon
challenging the eﬃcacy of the Product, and Yee’s travels to Puerto Rico and the nature of the work he
performed in connecAon with those visits. Please conﬁrm that this resolves your concerns, and that Yee will
produce responsive documents. And, please let me know if Yee has agreed to produce his documents
responsive to Requests No. 13 and 16.

I’d also like to clear up the issue regarding Request No. 12 and Janet Donaldson’s role, as I may have
misspoken during our call. I understand that Donaldson was the head of Yee’s department at the University
of Southern Mississippi during the relevant Ame period. In that role, I understand she communicated with
Yee regarding concerns that AC2T brought to the University’s aOenAon about public comments he made.
There is evidence in the documents that you already produced that Donaldson and Yee did have such
communicaAons – see, for example Dr. Donaldson’s November 18, 2019 email in the VEN_YEE0000000003
aOachment. Yee should produce his complete set of these communicaAons with Donaldson.

I look forward to your response, and to receiving Yee’s remaining producAon. AC2T reserves all rights.

Best,
Anna

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